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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

                                 CIVIL MINUTES – JURY TRIAL
                                              Day Twelve


   Case No.: 3:17CV72                   Date: Nov 9, 2021

     Elizabeth Sines, et al                          Counsel: Michael Bloch, Roberta Kaplan,
     Plaintiff(s)                                    Karen Dunn, Emily Cole, Jessica Phillips,
                                                     William Isaacson, Alan Levine
     v.
                                                     Counsel: Bryan Jones, David Campbell,
     Jason Kessler, et al                            Joshua Smith, James Kolenich
     Defendant(s)
                                                     Richard Spencer, pro se, Christopher
                                                     Cantwell, pro se

                                                     William ReBrook, Appearing by Zoom;
                                                     Dillon Hopper, pro se, Appearing by Zoom



   PRESENT: JUDGE:                    Norman K. Moon              TIME IN COURT: 9:00-
   10:30; 1hr 30min; 10:50-12:20=1hr 30min; 1:20-2:55=1hr 35min; 3:15-5:00=1hr Total= 6hrs
   20min
                 Deputy Clerk:        Heidi N. Wheeler/Susan Moody
                 Court Reporter:      Lisa Blair


                                        LIST OF WITNESSES

       PLAINTIFF                                          DEFENDANT
     1. Chelsea Alvarado                             1.
     2. Mathew Parrott


          Plaintiff continues presentation of evidence.
   Additional Information:
   Before jury seated, time scheduled addressed.

   Testimony of Chelsea Alvarado begins.
   Cross by Mr. Cantwell and Mr. ReBrook

   Testimony of Mr. Parrott begins.

   Break.
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   Testimony resumes.

   Break.

   Out of presence of jury schedule and Rule 50 motions discussed. Court will be held on Veterans.
   Day.

   Testimony of Parrot resumes.
   Break.
   Cross by Mr. Kolenich.
   Mr. Spencer.
   Mr. Campbell.
   Mr. Jones.
   Mr. ReBrook.
   Mr. Cantwell.
   Mr. Smith.

   Testimony concludes.

   Jury excused until Nov. 10 at 9:00 a.m.

   Exhibit addressed by Mr. Cantwell.

   Court adjourns.
